      Case 2:10-cv-00687-TR Document 16 Filed 04/21/10 Page 1 of 1



                       UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF PENNSYLVANIA


MARGARET BROCK, ET AL.

               Plaintiffs,                            CIVIL ACTION
       vs.
                                                      Case No.: 2:10-cv-00687
DANETTE THOMAS, ET AL.

               Defendants.


                         PRAECIPE TO ISSUE A SUMMONS

To: Clerk, United States District Court of the Eastern District of Pennsylvania

       On January 19, 2010, a Complaint was filed in the above-captioned matter. On
February 18, 2010, the matter was removed to the Eastern District of Pennsylvania.

       Attached to this Praecipe is a Summons for Defendants Fresh Start Financial
Services and Trinity Insurance, Abstract and Title Agency, LLC.



                                             Respectfully submitted,


Date: April 21, 2010                        __/s/ Daniel Urevick-Ackelsberg__
                                             Daniel Urevick-Ackelsberg, Esquire
                                             Attorney for the Plaintiffs
                                             Community Legal Services, Inc
                                             3638 N. Broad Street
                                             Philadelphia, PA 19140
